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MANDATORY FORM PLAN (10/01/2010) Revised 04/01/2012




                                    UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF OHIO
                                            EASTERN DIVISION


In re:       Lisa Diane Polk                                :       Case No.       14-50822
             xxx-xx-7028
                                                            :       Chapter 13
                                                            :       Judge        C. Kathryn Preston

          Debtor(s)

                                              CHAPTER 13 PLAN
 NOTE: The term “Debtor” as used throughout this Plan shall reference either a single debtor or joint
 debtors. The term "Plan" shall refer to the plan filed in this case, as it may be amended, using the mandatory
 form plan adopted in this Division. All references to section (§) numbers are to sections of the United States
 Bankruptcy Code, 11 U.S.C. section § 101, et seq. The term “BR” shall refer to the Federal Rules of
 Bankruptcy Procedure. The term “LBR” shall refer to the Local Bankruptcy Rules of the Southern District of
 Ohio.


      Amended Plan
  All pre-confirmation amendments to an original Mandatory Form Plan shall be accomplished by filing a
  complete Plan with the changes highlighted or reflected in bold or italic typeface.

      Above Median Income              Insolvent unless otherwise           Dividend to unsecured creditors:
     Below Median Income               marked below:
                                                                                              20.00               %
                                           Solvent Estate




 Debtor claims to be eligible for discharge under § 1328(f) unless otherwise marked below:
          Debtor is not eligible for discharge under § 1328(f)
          Joint Debtor is not eligible for discharge under § 1328(f)

 Debtor
    (1) filed a voluntary petition for relief under Chapter 13 of the Bankruptcy Code on February 13, 2014
     OR
     (2) converted this case to a case under Chapter 13 on                              (“Petition Date”).


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A.     PAYMENTS

        A(1).      Plan Payments.

       The future earnings of Debtor are submitted to the supervision and control of the Trustee. Debtor shall
pay the Trustee the sum of $ 727.00
per month (enter all step-payments), for a period not to exceed sixty months. Debtor shall commence payments
within thirty days of the Petition Date, and distributions shall begin upon confirmation pursuant to § 1326(a).
The effective date of the Plan shall be the date of entry of an order confirming the Plan.

      From the payments so received, the Trustee shall make disbursements, subject to the Trustee’s fee. The
disbursement schedule is dependent upon receipt of regular monthly Plan payments. Any increases to
monthly mortgage or escrow payments without corresponding changes to the Plan payment may impact the
disbursement schedule. The Trustee has the discretion to calculate the amount and timing of distributions as is
administratively efficient.
         A(2).     Pre-Confirmation Adequate Protection Payments/Lease Payments.

        The following pre-confirmation adequate protection payments on claims secured by personal property
and pre-confirmation lease payments for leases of personal property shall be paid by the Trustee, subject to his
full fees, to the creditors listed below. Except as provided by § 501(c), secured creditors must file a proof of
claim to receive payment. Unless otherwise ordered by the Court, these payments will be retained by the
Trustee until confirmation and distributed after confirmation. If the case is dismissed or converted prior to
confirmation, the Trustee will distribute the retained payments, pro rata, based on the adequate protection
payment amounts.

                Creditor                              Property Description                 Monthly Adequate
                                                                                           Protection Payment
     Chase Auto Finance                2010 VW Beetle                                                     $100.00

         A(3). Administrative Expenses, Attorney Fees, and § 1326 (b) Priority Payments.

       Administrative expenses, unitemized attorney fees, itemized attorney fees under LBR 2016-1(b)(2)(B),
and priority payments as required by § 1326(b) shall be paid concurrently with Class 2 claims. The total
unitemized attorney fee for services (not to exceed the amount set forth in LBR 2016-1(b)(2)(A)), or the
estimated itemized fee under LBR 2016-1(b)(2)(B) is $ 3,500.00 .

 Debtor’s attorney received $        1,050.00            prior to the Petition Date. The Trustee

shall disburse a minimum monthly amount of $               350.00        to Debtor’s attorney until the balance of
$ 2,450.00          is paid in full. Fees for independent appraisals of real estate and utility deposits will
be paid as administrative expenses pursuant to § 503 upon the timely filing of a proof of claim. The Trustee
may pay in one lump sum any administrative claim that is less than $500.00.




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B.      CLASS 1—CLAIMS SECURED BY REAL PROPERTY

       Except as set forth in section B(3), all secured creditors secured only by a security interest in real
property shall retain their liens until the later of issuance of a discharge or payment of the underlying debt as
determined under non-bankruptcy law.

        B(1).     Mortgage Payments Outside the Plan.

      Regular monthly payments on the following mortgage claims will be paid directly by Debtor, if direct
payments are permitted by LBR 3015-1(d)(1):

                         Creditor                                         Property Address
     None

        B(2).     Conduit Mortgage Payments.

        Regular mortgage payments on the following mortgage claims will be paid on a conduit basis by the
Trustee, subject to his full fees, beginning with the first calendar month after the Petition Date, if conduit
payments are required by LBR 3015-1(d)(1) or proposed by Debtor. Confirmation of the Plan shall impose an
affirmative duty and legal obligation on the holders and/or servicers of mortgage claims to do all of the
following, unless the case is dismissed or converted:
               (a)      Apply the post-petition conduit mortgage payments as post-petition monthly payments
of principal and interest on the mortgage note, and, if applicable, as post-petition monthly payments of
escrowed items such as insurance and/or real estate taxes. If such payments are placed into a suspense,
forbearance or similar account, they will be deemed to have been applied pursuant to this subsection.
               (b)      Apply the payments received from the Trustee for payment on the arrearage, if any, only
to such arrearage. The arrearage shall be deemed paid in full upon the entry of the discharge order in this case,
unless otherwise ordered by the Court
               (c)      Deem the pre-petition arrearage contractually current upon confirmation of the Plan so as
to preclude the imposition of late payment charges or other default-related fees and services.
               (d)      File and serve a Notice of Mortgage Payment Change on Official Form 10S1, within the
deadline and in compliance with the service requirements set forth in BR 3002.1(b), to reflect any changes in
the monthly mortgage payments or escrow amounts that occur during the term of the Plan. Upon the filing of a
Notice of Mortgage Payment Change, the Plan shall be deemed modified to permit the Trustee to disburse the
amended payment amount.

                  Creditor                            Property Address            Monthly Conduit
                                                                                  Mortgage Payment
     None




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        B(3).     Liens and/or Mortgages to be Paid as Unsecured Claims.

        The following claims secured by a lien and/or mortgage will be paid as unsecured claims concurrent
with Class 5 general unsecured claims. Debtor shall file a separate motion or adversary proceeding to
determine: (i) whether the property listed below vests free and clear of the lien(s) and/or mortgage(s) pursuant
to § 1327 or (ii) whether the lien(s) and/or mortgage(s) listed below may be avoided pursuant to other
applicable provisions of the Bankruptcy Code. Notwithstanding § 1327(a), confirmation of the Plan shall not
be dispositive of: (i) the valuation of the collateral or (ii) the secured status of the claims. Debtor has standing
and authority to file the motion or adversary proceeding; to the extent that the Trustee has standing to bring
such action, standing is hereby assigned to Debtor.

                      Creditor                                          Property Address
     None

        B(4). Liens and/or Mortgages Which May Be Modified.

         Liens and/or mortgage claims listed in this subsection consist of any claims secured by real property
that is not the Debtor’s principal residence or secured by other assets in addition to the residence. To the extent
the claim of the lien holder and/or the mortgage claim holder is in excess of the value of the estate’s interest in
the collateral, the balance shall be treated as a Class 5 general unsecured claim. Unless otherwise stipulated or
determined by order of the Court, the real property shall be valued for purposes of § 506 as set forth by Debtor
below.

          Creditor                Property            Value of              Interest            Minimum
                                  Address             Collateral             Rate               Monthly
                                                                                                Payment
     None




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        B(5). Real Property to be Surrendered.

                (a)      Debtor will surrender the following real property and any resulting deficiency balance
shall be treated as a Class 5 general unsecured claim.

                  Creditor                                                Property Address
     Chase Home Equity Loan Servicing                       15 High Lane, Whipple, Ohio
     Chase Home Equity Loan Servicing                       4350 State Route 821, Whipple, Ohio

               (b)      The Trustee shall not pay any claims secured by this real property until a timely filed
secured proof of claim is amended to set forth the unsecured deficiency balance after disposition of the real
property. Such amendments shall be filed no later than 365 days after confirmation of the Plan;
amendments filed after that date shall be deemed disallowed and subject to discharge under § 1328
unless otherwise ordered by the Court. The Trustee will make no distributions in respect of mortgage
payments, mortgage arrearages, or real estate taxes on surrendered real property, unless otherwise
provided in the Plan or by order of the Court.
               (c)      Upon confirmation of the Plan, the automatic stay of § 362 shall be deemed modified to
allow in rem disposition of the real property as necessary to effect the surrender.

NOTE: If, at any time after confirmation, sufficient funds are not available to make a full monthly payment on
all Class 1 claims, at the Trustee’s discretion, the available funds will be distributed pro rata on Class 1 claims.
Any post-petition mortgage arrearages will be paid prior to payment of Class 2 claims.


C.      CLASS 2—CLAIMS SECURED BY PERSONAL PROPERTY; UNEXPIRED LEASES

        C(1).     Lien Retention and Interest.

        All secured creditors secured only by a security interest in personal property shall retain their liens until
the earlier of issuance of a discharge or payment of the underlying debt as determined under non-bankruptcy
law. Unless otherwise stipulated or provided for below, secured creditors shall be paid interest at the rate of
      5.25       %.

        C(2). To Be Paid in Full (i.e., § 506 Does Not Apply).

                 The Trustee shall pay the following claims in full:

        Creditor           Property             Purchase      Estimated  Interest         Minimum Monthly
                          Description             Date      Claim Amount  Rate                Payment
     Chase Auto         2010 VW               Dec 1, 2011         $7,911.00      1.00%                 $100.00
     Finance            Beetle




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        C(3). Claims to Which § 506 Applies.

                Claims listed in this subsection consist of any claims secured by personal property not
described above. To the extent a secured creditor’s claim is in excess of the collateral value, the balance shall
be treated as a Class 5 general unsecured claim. Unless otherwise stipulated or determined by order of the
Court, the personal property shall be valued for purposes of § 506 at the lower of the creditor’s valuation set
forth on its proof of claim or the valuation set forth by Debtor below:


        Creditor           Property             Purchase       Value of       Interest   Minimum Monthly
                          Description             Date        Collateral       Rate          Payment

    None

        C(4). Personal Property to be Surrendered

       Debtor will surrender the following property and any resulting deficiency balance shall be treated as a
Class 5 general unsecured claim:

                       Creditor                                       Property Description
     None

        C(5). Executory Contracts and Vehicle Leases.

               (a)     Debtor rejects the following executory contract(s) and/or vehicle lease(s) and any
resulting claim shall be treated as a Class 5 general unsecured claim:

                            Creditor                                       Property Description
     None

                (b)    Debtor assumes the executory contract(s) and/or vehicle lease(s) listed below The
Trustee shall pay vehicle lease payments unless otherwise ordered by the Court. Debtor shall pay all other lease
or executory contract payments unless otherwise specified below. All payments under this section will begin
the first calendar month following the Petition Date.

           Creditor               Property            Termination     Monthly Payment Monthly Payment
                                 Description             Date          Amount To be    Amount To be
                                                                      Paid Directly by Paid by Trustee
                                                                          Debtor
     None

NOTE: If at any time after confirmation sufficient funds are not available to make a full monthly payment on
all Class 2 claims, at the Trustee’s discretion, the available funds will be paid pro rata on Class 2 claims and
administrative expense claims.


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D.      CLASS 3—PRIORITY CLAIMS AND DOMESTIC SUPPORT OBLIGATIONS

        D(1). Priority Claims.

        Class 3 claims will be paid pro rata and concurrently with Class 4 claims. All allowed claims entitled to
priority under § 507(a) shall be paid in full unless: (i) otherwise provided for in § 1322(a), or (ii) the holder of a
particular claim agrees to a different treatment of its claim. Any and all pre-petition penalties, and post-petition
penalties and interest, that have accrued or will accrue on any such claims shall be treated as Class 5 general
unsecured claims and shall not be entitled to priority.

        D(2). Domestic Support Obligations.

                (a) Domestic support obligations (DSOs) are defined in § 101(14A). Debtor shall pay all
post-petition DSOs directly to the DSO creditor and not through the Trustee. Upon completion of the Plan,
Debtor shall certify to the Court that all payments on post-petition DSOs have been made. If Debtor becomes
subject to a DSO during the term of the Plan, Debtor shall file with the Court and serve on the Trustee a notice
reflecting the nature of the DSO, and the name and address of the DSO creditor.

Pre-petition arrearages on DSOs shall be paid as follows:


         Name of                     Name & Address             Estimated Arrearage Estimated Arrearage
       DSO Creditor                     of CSEA                 Amount, if any, to be Amount, if any, to be
                                                                  Paid Directly by     Paid by Trustee
                                                                      Debtor


     None

              (b)     Name of governmental unit to which a DSO has been assigned, or is owed, or is
recoverable by, and the estimated amount of the DSO:


          Creditor             Governmental           Estimated DSO       To be Paid           To be Paid by
                                   Unit                   Amount          Directly by             Trustee
                                                                            Debtor
     None




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E.      CLASS 4—SECURED CLAIMS NOT OTHERWISE DESIGNATED

        E(1). Payment of Class 4 Claims.

       Class 4 claims including itemized post-confirmation attorney fees per LBR 2016-1(c), pre-petition
mortgage arrearages, pre-petition and post-petition lease arrearages, real estate taxes and other secured claims
not otherwise designated shall be paid pro rata, concurrently and in full with Class 3 claims.

NOTE: No interest shall be paid on any pre-petition mortgage arrearages as part of the cure of the default if
the mortgage was executed after October 22, 1994.

        E(2). Pre-Petition Arrearages on Real Estate Mortgage(s).

        The Trustee shall distribute payments to cure the following pre-petition mortgage arrearages:

                  Creditor                             Property Address         Estimated Arrearage Amount
     None

        E(3). Arrearages on Assumed Leases and Executory Contracts.

       The Trustee shall distribute payments to cure the following arrearages on assumed leases and/or
executory contracts:


                  Creditor                                Property              Estimated Arrearage Amount
                                                      Address/Description

     None

F.      CLASS 5—GENERAL UNSECURED CLAIMS

        F(1). Unsecured Dividend.

        After payment of allowed claims in Classes 1, 2, 3 and 4, allowed general unsecured claims shall be
paid a dividend as provided on page one of the Plan.

         Notwithstanding the expiration of the claims bar date, the Trustee is authorized to modify the Plan post-
confirmation to ensure that plan length meets the "applicable commitment period" provided by § 1325(b) by
filing a motion with the Court.


        F(2). Solvency.

        If this is a solvent estate, all general unsecured claims shall be paid in full with interest at
      5.25       %, unless otherwise provided.



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G.      MISCELLANEOUS PROVISIONS

        G(1). Co-Debtor Claims not Otherwise Provided for in the Plan.

               (a)     The following co-debtor claims will be paid in full by the Trustee concurrently
with Class 4 claims to protect the co-debtor:

                        Creditor                        To be Paid in Full with      Minimum Monthly
                                                       Interest at Rate Specified   Payment, if Applicable
                                                                 Below
     None

                 (b)     The following co-debtor claims will be paid as follows:


                            Creditor                             To be Paid by         To be Paid Same
                                                                  Co-Debtor           Dividend as General
                                                                Outside the Plan       Unsecured Claims
     None

        G(2). Sale of Property.

       Debtor proposes to sell the real or personal property described below following Trustee and/or Court
approval as required by LBR 6004-1(c)–(d). Debtor shall commit the net proceeds as follows:


        Property Address/            Date by Which Sale           Estimated Net         Disposition of Net
           Description               Shall be Completed             Proceeds                Proceeds
     None

        G(3). Tax Returns.

        All required tax returns have been filed except as provided below:

            Tax Agency                   Type of Tax               Tax Period          Date Return will be
                                                                                             Filed
     None




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        G(4). Vesting.

        Unless marked below, confirmation of the Plan vests all property of the estate in Debtor free and clear
        of any claim or interest of any creditor provided for by the Plan pursuant to § 1327(b) and (c).

        Property of the estate shall not vest in Debtor upon confirmation but shall remain property of the
        estate until the case is dismissed, converted, or a discharge is issued, whichever occurs first.


        G(5). Other Events.

                If any of the following occurs, Debtor shall fully and timely disclose the event to the Trustee
and shall file any appropriate notice, application and/or motion with the Trustee and/or Court:

        -        Any change in marital status or child/spousal support payments;
        -        Any change in employment;
        -        Any change of address; and/or
        -        Any financial recovery to which Debtor becomes entitled for any reason, including without
                 limitation, any personal injury claim, employment claim, workers’ compensation claim,
                 unemployment claim, inheritance, life insurance benefits, lottery proceeds or property
                 settlement.

        G(6). Insurance Information.

        As of the Petition Date, Debtor’s property is insured as follows:

     Property Address/            Insurance            Policy Number     Full/Liability   Agent and Contact
        Description               Company                                                   Information

    15 High Lane,            Erie Insurance           Q60-1409173                     Full Welch Insurance
    Whipple, Ohio                                                                          Agency LLC
                                                                                           26916 State Route
                                                                                           7
                                                                                           Marietta, OH
                                                                                           45750
                                                                                           740-376-0670
     4350 State Route State Farm Fire and 95-NZ-0566-4                                Ful Coffman Insurance
    821, Whipple, Ohio Casualty Company                                                    Agency
                                                                                           740-373-6399
     2010 VW Beetle         California Casualty 101 7874017                           Full California Casualty
                                                                                           800-346-6840




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          G(7). Casualty Loss Insurance Proceeds (Substitution of Collateral).

        If a motor vehicle is substantially damaged while subject to an unpaid secured claim, Debtor shall have
the option, upon the filing of an appropriate motion, of using the proceeds of any insurance payable due to loss
of the vehicle to: (i) repair the vehicle, (ii) pay off the balance of the secured claim if the secured creditor is a
named loss payee on the policy, or (iii) substitute the collateral by purchasing a replacement vehicle. If Debtor
purchases a replacement vehicle, the vehicle shall have a value not less than the balance of the unpaid secured
claim, the lien of the creditor shall be transferred to the replacement vehicle, and the Trustee will continue to
pay the allowed secured claim. Debtor may not purchase a replacement vehicle without Trustee and/or Court
approval as required by LBR 4001-3(b)–(d).

          G(8). Post-Petition Debt.

       Debtor shall not incur any non-emergency consumer debt in excess of $1,000 without Trustee and/or
Court approval. LBR 4001-3(b)–(d).

H.        SPECIAL PROVISIONS

        The Special Provisions listed below, if any, are restricted to those items applicable to Debtor’s
particular circumstances.

NOTE: Special Provisions shall NOT contain a restatement of provisions of the Bankruptcy Code, the Federal
Rules of Bankruptcy Procedure or the Local Bankruptcy Rules, nor shall this section contain boilerplate
language regarding the treatment of mortgages, mortgage arrearages, proofs of claim, consumer protection
provisions or the like. See General Order No. 7.


     Special Provisions:
       1.    Debtors shall make plan payments in the amount set forth in this Plan for no less than the
             applicable commitment period, but not to exceed 60 months. The dividend to be paid to
             unsecured creditors shall be no less than the dividend set forth on page one of the plan.
       2.     Student loan creditors, all long term debts, will be paid conduit by the Trustee: US
             Department of Education at $233.82 per month

      The undersigned hereby certify(ies) that the Plan does not contain any alterations to the text of the
Mandatory Form Plan, except as authorized by order of the Court.

     Case Attorney:
     /s/ Robert Ellis

 Dated:          February 13, 2014

     Debtor                                                     Joint Debtor
     /s/ Lisa Diane Polk

 Dated:          February 13, 2014                          Dated:

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